                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

KENNETH ALDRICH              )
                             )
      Plaintiff,             )
                             )                        No. 7:12-cv-279
      vs.                    )
                             )
COMMERCIAL RECOVERY SYSTEMS, )
INC.,                        )                        JURY DEMAND ENDORSED HEREON
                             )
      Defendant.             )


                                          COMPLAINT

       NOW COMES the Plaintiff, KENNETH ALDRICH, by and through his attorney,

MITCHEL E. LUXENBURG, and for his Complaint against the Defendant, COMMERCIAL

RECOVERY SYSTEMS, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for damages for violations of the Fair Debt Collection Practices

Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North Carolina Prohibited

Practices by Collection Agencies Engaged in the Collection of Debts from Consumers Statute,

N.C. Gen. Stat. § 58-70-90, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.




            Case 7:12-cv-00279-D Document 1 Filed 09/24/12 Page 1 of 5
                                              PARTIES

        3.        Plaintiff is an individual who was at all relevant times residing in Wilmington,

North Carolina.

        4.        Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as he is a natural person allegedly obligated to pay a debt.

        5.        At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.        The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of Plaintiff to pay money arising out of a transaction

in which the money, property, insurance and/or services which are the subject of the transaction

were primarily for personal, family and/or household purposes.

        7.        On information and belief, Defendant is a corporation of the State of Texas,

which is licensed to do business in North Carolina and which has its principal place of business

in Dallas, Texas.

                                              COUNT I

                         (Violation of the Fair Debt Collection Practices Act)

        8.        Defendant, through its agents, representatives and/or employees, began contacting

Plaintiff during or about June or July of 2012 in attempts to collect the aforementioned alleged

debt, but failed to identify themselves as debt collectors during each and every communication

with Plaintiff.




                                        2
             Case 7:12-cv-00279-D Document 1 Filed 09/24/12 Page 2 of 5
       9.      In a message left on Plaintiff’s answering machine, Defendant’s agent,

representative and/or employee identified the name of Defendant and this message was

overheard by Plaintiff’s children.

       10.     In at least one communication with Plaintiff, Defendant’s agents, representative

and/or employee referred to Defendant as “CRS,” instead of Defendant’s actual name.

       11.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

               a.      Identifying the name of Defendant’s company while communicating with

                       a person other than Plaintiff without having been expressly requested to do

                       so, in violation of 15 U.S.C. § 1692b(1);

               b.      Failing to disclose in every communication with Plaintiff that the

                       communication was from a debt collector, in violation of 15 U.S.C. §

                       1692e(11);

               c.      Using a business, company or organization name other than the true name

                       of Defendant’s company, in violation of 15 U.S.C. § 1692e(14); and

               d.      By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with the FDCPA.

       12.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, KENNETH ALDRICH, respectfully prays for a judgment

against Defendant as follows:

               a.      Statutory damages of $1,000.00 for each violation of the FDCPA;




                                        3
             Case 7:12-cv-00279-D Document 1 Filed 09/24/12 Page 3 of 5
               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.

                                              COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                    Engaged in the Collection of Debts from Consumers Statute)

       13.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       14.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways:

               a.       Identifying the name of Defendant’s company while communicating with

                        a person other than Plaintiff without having been expressly requested to do

                        so, in violation of N.C. Gen. Stat. § 58-70-105(1);

               b.       Failing to disclose in every communication with Plaintiff that the

                        communication was from a debt collector, in violation of N.C. Gen. Stat. §

                        58-70-110(2);

               c.       Using a business, company or organization name other than the true name

                        of Defendant’s company, in violation of N.C. Gen. Stat. § 58-70-110(1);

                        and

               d.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with North Carolina law.




                                        4
             Case 7:12-cv-00279-D Document 1 Filed 09/24/12 Page 4 of 5
       15.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, KENNETH ALDRICH, respectfully prays for a judgment

against Defendant as follows:

               a.      Statutory damages of $4,000.00 for each violation of the North Carolina

                       Prohibited Practices by Collection Agencies Engaged in the Collection of

                       Debts from Consumers Statute;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of his claims in this action.



                                                      Respectfully Submitted,

                                                      /s/ Mitchel E. Luxenburg
                                                      Mitchel E. Luxenburg (42021)
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                                        5
             Case 7:12-cv-00279-D Document 1 Filed 09/24/12 Page 5 of 5
